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   GAIL GARIN, Individually and as
   Administrator of the Estate of CASIMIR POKORNY, Deceased,
   NAOTO IKEDA, Individually and as Personal Representative
   of the Estate of REINO IKEDA, Deceased; LIANNA MCCURDY
   and DANIEL VERDERAME


                IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                               STATE OF HAWAI’I


   GAIL GARIN, Individually and as )     Civil No. 1CCV-XX-XXXXXXX
   Administrator of the Estate of  )     (Motor Vehicle Tort)
   CASIMIR POKORNY, Deceased;      )
   NAOTO IKEDA, Individually and   )     FIRST AMENDED COMPLAINT;
   as Personal Representative      )     DEMAND FOR JURY TRIAL; SUMMONS
   of the Estate of REINO IKEDA,   )
   Deceased; LIANNA MCCURDY; and   )
   DANIEL VERDERAME,               )
                                   )
                  Plaintiffs,      )
                                   )
        vs.                        )
                                   )
   ALINS SUMANG; SHELDON WATTS;    )
   CITY AND COUNTY OF HONOLULU;    )
   JOHN DOES 1-10; JANE DOES 1-10; )
   DOE CORPORATIONS 1-10; DOE      )
   PARTNERSHIPS 1-10; DOE JOINT    )
   VENTURERS 1-10; DOE LIMITED     )
   LIABILITY ENTITIES 1-10; DOE    )
   NON-PROFIT ENTITIES 1-10; DOE   )
   GOVERNMENTAL ENTITIES 1-10; DOE )



                                  Exhibit "B"
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   UNINCORPORATED ENTITIES 1-10;   )
   and OTHER DOE ENTITIES 1-10,    )
                                   )
                  Defendants.      )
   _______________________________ )

                                FIRST AMENDED COMPLAINT

                Plaintiffs           GAIL      GARIN,       Individually       and       as

   Administrator of the Estate of CASIMIR POKORNY, Deceased, NAOTO

   IKEDA, Individually and as Personal Representative of the Estate

   of REINO IKEDA, Deceased, LIANNA MCCURDY and DANIEL VERDERAME,

   by   and    through       their   attorneys,        Kawamura    Law   Office,    LLLC.,

   bring   this      First    Amended       Complaint     against    Defendants     above-

   named, and in doing so, allege and aver as follows:

   COUNT I - NEGLIGENCE

                1.     Plaintiff GAIL GARIN is and was at all relevant

   times      herein     a    resident       of       Montgomery    County,   State      of

   Pennsylvania (“Garin”) and is the mother of Casimir Pokorny,

   deceased (“POKORNY”),             her only child,         who was killed in the

   January 28, 2019 motor vehicle accident which occurred in the

   City and County of Honolulu, State of Hawaii as a result of the

   acts and omissions of the Defendants as alleged herein (“the

   accident”), and she is also the Administrator of the Estate of

   Casimir Pokorny, Deceased (collectively referred to herein as

   “Plaintiff GARIN”).

                2.     Plaintiff NAOTO IKEDA is and was at all relevant

   times herein a resident of Iwaru, Japan (“IKEDA”) and is the


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   husband of Reino Ikeda, deceased (“REINO IKEDA”), who was killed

   in    the   accident     which    occurred          in    the   City    and     County       of

   Honolulu, State of Hawaii as a result of the acts and omissions

   of the Defendants as alleged herein, and he is also the Personal

   Representative       of     the     Estate           of     REINO      IKEDA,        Deceased

   (collectively referred to herein as “Plaintiff IKEDA”).

                3.     At    all     material          times    herein,         POKORNY,       now

   deceased,     was    a    resident        of       Montgomery        County,        State    of

   Pennsylvania was just 26 years old at the time of the accident.

                4.     At all material times herein, REINO IKEDA, now

   deceased, was a resident of Iwaru, Japan and was just 47 years

   old at the time of the accident.

                5.     Plaintiff      LIANNA          MCCURDY      is    and     was     at    all

   relevant times herein a resident of the City & County Honolulu,

   State of Hawaii (“Plaintiff MCCURDY”).

                6.     Plaintiff      DANIEL          VERDERAME     is    and    was     at    all

   relevant times herein a resident of the City & County Honolulu,

   State of Hawaii (“Plaintiff VERDERAME”).

                7.     At all relevant times herein, Plaintiffs MCCURDY

   and    VERDERAME     were       hosting     two       friends,        POKORNY        and    his

   girlfriend    Eva    Mascaro,      both     visiting         from     Pennsylvania,         and

   they were all waiting to cross Ala Moana Boulevard when the

   Truck, as discussed herein, plowed into them, killing POKORNY




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   and severely injuring Plaintiffs McCURDY and VERDERAME.                            POKORNY

   was Plaintiff VERDERAME’S best friend.

               8.     Defendant ALINS SUMANG is and was at all relevant

   times herein a resident of the City & County of Honolulu, State

   of Hawaii (“Defendant SUMANG”).

               9.     Defendant         SHELDON      WATTS    is     and    was       at   all

   relevant   times    herein      a    resident      of    the    City    and   County     of

   Honolulu, Hawaii and at all relevant times herein was working in

   the course and scope of his employment and official capacity as

   a Police Officer with the Honolulu Police Department (“HPD”),

   the principal law enforcement agency within the City and County

   of Honolulu, State of Hawaii (“Defendant WATTS”).

               10.    Defendant CITY & COUNTY OF HONOLULU is and was at

   all relevant times hereto a municipal corporation within the

   State of Hawaii (“Defendant CITY”).                        At all relevant times

   herein,    Defendant     CITY       employed      Defendant     WATTS    as    a    police

   officer in the Honolulu Police Department (“HPD”) whose acts and

   omissions, and customs, practices and policies as alleged herein

   caused and/or contributed to Plaintiffs’ injuries and damages as

   alleged herein, which acts and omissions occurred while he was

   acting    within   the     course      and       scope    of    his    employment       and

   official capacity as a police officer with Defendant CITY.

               11.    There     existed         a     master-servant         relationship

   between Defendant WATTS and Defendant CITY.                           As a direct and


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   proximate result of said officer’s acts and omissions as alleged

   herein, and HPD’s custom, practice and policies, Plaintiffs have

   suffered injuries and damages as set forth herein.                       As a result

   thereof, the liability of said officer is imputed to Defendant

   CITY and Defendant CITY is liable to Plaintiffs pursuant to the

   doctrine of Respondeat Superior.

               12.    Defendants JANE DOES 1-10, DOE CORPORATIONS 1-10,

   DOE PARTNERSHIPS 1-10, DOE JOINT VENTURERS 1-10, DOE LIMITED

   LIABILITY   ENTITIES      1-10,    DOE       NON-PROFIT      ENTITIES     1-10,   DOE

   GOVERNMENTAL ENTITIES 1-10, DOE UNINCORPORATED ENTITIES 1-10,

   and OTHER DOE ENTITIES 1-10 (collectively referred to as "Doe

   Defendants")      are   persons,   corporations,          partnerships,      limited

   liability   companies,      business         entities,      non-profit     entities,

   and/or governmental entities who acted in a negligent, wrongful

   or tortious manner which proximately caused or contributed to

   injuries and damages sustained by Plaintiffs.                      Plaintiffs have

   been unable to ascertain the names and identities of the Doe

   Defendants from the investigation that has been conducted to

   date.    Accordingly,      Plaintiffs         have   sued    the   Doe    Defendants

   herein under fictitious names pursuant to Rule 17(d) of the

   Hawaii Rules of Civil Procedure, and Plaintiffs will substitute

   the true names, identities, capacities, acts and/or admissions

   of the Doe Defendants when the same are ascertained.




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               13.   All    of    the     acts     and     omissions        complained        of

   herein occurred within the City & County of Honolulu, State of

   Hawaii.

               14.   Plaintiffs      contend        that    the    amount       of   each     of

   their   damages   as    alleged       in    this      complaint       fall     within    the

   jurisdictional requirements of this Honorable Court, exclusive

   of interest, attorney’s fees and costs.

               15.   Plaintiffs         GARIN      and     IKEDA     each       bring     their

   wrongful death claims pursuant to Section 663-3 of the Hawaii

   Revised Statutes and also bring their survivor claims pursuant

   to Section 663-7 of the Hawaii Revised Statutes, and have each

   met all of the requirements of Hawaii No-Fault Law, including

   but   not   limited     to    H.R.S.       Section     431-10C-306        (b)     (1),     in

   bringing this suit.

               16.   Plaintiff MCCURDY has met all of the requirements

   of Hawaii No-Fault Law,           including but not limited to                        H.R.S.

   Section 431-10C-306 (b) (3) & (4), in bringing this suit.

               17.   Plaintiff          VERDERAME         has      met      all      of     the

   requirements of Hawaii No-Fault Law, including but not limited

   to H.R.S. Section 431-10C-306 (b) (3) & (4), in bringing this

   suit.

               18.   On October 14, 2019, Plaintiffs hand-delivered a

   notice of their claims herein to the Honorable Ikaika Anderson,




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   Chairman of the Honolulu City Council pursuant to Section 46-72

   of the Hawaii Revised Statutes.

              19.   On January 28, 2019, Defendant SUMANG had been

   drinking   and   was    under   the   influence         of   alcohol    and   was

   negligently operating a 2006 Ford F-150 Truck bearing License

   Number PNN 114 (“the Truck”) in the City and County of Honolulu

   losing control of the Truck causing it to collide into parked

   cars at the intersection of Amana and Makaloa streets. No one

   was injured as a result of these minor collisions.                      Defendant

   WATTS was in the area and was flagged down by a citizen to

   advise him that a truck had struck his vehicle and had fled

   westbound on Makaloa Street. Defendant WATTS began looking for

   the Truck and found a truck matching the witness description

   heading mauka bound on Keeaumoku Street fronting Walmart and he

   began pursuing it as it turned left on Rycroft Street, then at a

   high rate of speed southbound on Pensacola Street, westbound on

   Kapiolani Boulevard, southbound on Kamakee Street, eastbound on

   Kona   Street,   then   southbound        on   Piikoi    Street   and     finally

   westbound on     Ala Moana Boulevard           to the intersection of Ala

   Moana Boulevard and Kamakee Street.             In all, the pursuit lasted

   approximately 2 minutes.        As a result of the high speed pursuit

   up and down these streets, and most critically on Ala Moana

   Boulevard, Defendant SUMANG attempted to evade Defendant WATTS

   on Ala Moana Boulevard by attempting a sudden right turn onto


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   Kamakee Street when he lost control of the Truck causing it to

   violently climb an island severing a light pole and colliding

   into eight pedestrians and then slamming into another truck.                               As

   a    direct   and     proximate        result     of    the   pursuit        and   resulting

   collisions, three individuals were killed including POKORNY and

   REINO   IKEDA       and   six    others      were      seriously     injured       including

   MCCURDY and VERDERAME (“the accident”).

                 20.     The accident occurred at approximately 6:20 p.m.

   on January 28, 2019.

                 21.     Defendant     WATTS       reported      that      he   followed     the

   Truck onto Ala Moana Boulevard and saw the Truck approximately

   1/3 mile ahead of him.             He reported that traffic conditions were

   “heavy” and he was stuck in traffic so he activated his blue

   lights so that a vehicle ahead of him would move out of the way.

   He    also    documented        that    he    turned      off     his    lights     and    he

   continued to pursue the Truck. He pursued the Truck down many

   streets finally turning onto Ala Moana Boulevard.                             He said that

   he saw a Honolulu Fire towing a boat ahead of him with its

   lights and siren activated.               He claimed that all vehicles on Ala

   Moana Boulevard were pulling over which caused him to be stuck

   in traffic. He claimed that while still 1/3 of a mile behind the

   Truck he observed the Truck change lanes and pass the fire truck

   and change to the far left lane in the area of Ala Moana and

   Kamakee      Street    and   saw    the      Truck     make   a    “sharp      right   turn”


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   across traffic to Kamakee Street, saw a light pole fall and then

   came upon the subject accident at that intersection.                     See Police

   Report No. 19-037743-001, Pg. 24.

                 22.   HPD Lt. James Slayter told the Star Advertiser

   that the Truck had hit other cars several blocks away and then

   sped across three lanes of traffic in an attempt to turn onto

   Kamakee Street.

                 23.   At one of Defendant SUMANG’s criminal hearings,

   HPD Officer Brandon Ohta testified that the engine computer on

   SUMANG’s truck recorded the vehicle’s speed at 74-76 mph before

   impact. HPD testing revealed that Defendant SUMANG’s speed along

   Ala Moana Boulevard was travelling faster than 64.07 miles per

   hour when he first began to brake and begin to turn to the right

   and he was traveling at 51.08 miles per hour when his truck

   collided into the pedestrians.             See Police Report, Pgs. 736-739.

   The speed limit for the subject portion of Ala Moana Boulevard

   is   35   mph   and    therefore      SUMANG     was   travelling   at    twice   the

   posted speed limit during the pursuit.

                 24.   At    a    criminal    hearing        for   Defendant   SUMANG,

   Investigating Police Officer Suaesi Tuimaunei testified that he

   found     a   bottle     of   vodka   in   the    truck    Defendant     SUMANG   was

   driving and that he was belligerent and cursed at emergency

   workers. Defendant SUMANG told emergency responders “Fuck you, I




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  don’t   give    a    Fuck.”       Court    documents       indicated      that Defendant

  SUMANG smelled strongly of alcohol after the crash.

              25.      At all relevant times herein, Defendant SUMANG

  owed a duty to Plaintiffs to operate the Truck in a reasonably

  safe and prudent manner observing all traffic laws and traffic

  conditions.          Defendant         SUMANG      breached       this    duty      when   he

  negligently         operated       the     Truck     as     alleged      herein,       which

  negligence includes but is not limited to driving under the

  influence   of      alcohol,       speeding,       ignoring       stop   signs,      driving

  recklessly,     evading         Defendant    WATTS’        pursuit,      and   failing     to

  negotiate the right turn onto Kamakee Street.

              26.      As a direct and proximate result of the acts,

  omissions and negligence of Defendants as alleged herein, and in

  ways to be discovered in this case, POKORNY and REINO IKEDA

  suffered horrific pre-impact terror, were violently struck by

  the Truck causing them to suffer catastrophic, atrocious, and

  gruesome    injuries,           from      which     they     died     from,        entitling

  Plaintiff      GARIN       as   Administrator        of     the    Estate      of    Casimir

  Pokorny,       deceased,           and      Plaintiff         IKEDA       as        Personal

  Representative        of    the    Estate    of     REINO     IKEDA,     to    a    judgment

  against    Defendants,          jointly    and     severally,       in   amounts      to   be

  proven at trial.

              27.      As a direct and proximate result of the acts and

  omissions of Defendants as alleged herein, and in ways to be


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  discovered in this case, resulting in POKORNY and REINO IKEDA’s

  sudden and untimely deaths, Plaintiff GARIN, individually, lost

  her only child, and Plaintiff IKEDA, individually, lost his wife

  in a horrific manner and they each have suffered and continue to

  suffer extreme emotional distress, depression, anguish, grief,

  sorrow;      a    loss    of     love,    affection,     society,         companionship,

  comfort,         consortium,          protection,     care,     attention,          advice,

  counsel,     filial       care    and     attention,    relationship         with     their

  loved ones, has incurred burial and funeral expenses, entitling

  Plaintiffs GARIN and IKEDA, both individually, to a judgment

  against    Defendants,         jointly      and   severally,     in       amounts    to   be

  proven at trial.

                28.       As a direct and proximate result of Defendants’

  acts   and       omissions       as    alleged    herein,     and     in    ways     to   be

  discovered        in    this   case,      Plaintiff    McCURDY      suffered        severe,

  permanent         and     disfiguring       injuries      and       witnessed        bodies

  scattered on the street including her friend POKORNY as first

  responders hopelessly attempted to render aid to him.

                29.       As a direct and proximate result of Defendants’

  acts   and       omissions       as    alleged    herein,     and     in    ways     to   be

  discovered in this case, Plaintiff VERDERAME was injured and

  witnessed        his    girlfriend       Plaintiff     MCCURDY      and    close    friend

  POKORNY both get violently struck by the Truck.                             He witnessed

  Plaintiff MCCURDY who lay seriously injured and bleeding on the


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  pavement    as     well     as        other    bodies        scattered        on   the     street

  including POKORNY as first responders hopelessly attempted to

  render aid to him.

              30.       As    a     direct           and     proximate       result        of     the

  negligence       of     Defendants            as        alleged       herein,      and    to      be

  discovered       in     this      case,       Plaintiffs          McCURDY       and      VEDERAME

  suffered damages including but not limited to severe, permanent

  and disfiguring injuries, have incurred and will continue to

  incur    medical,       psychiatric,           psychological            and     rehabilitative

  expenses, have suffered mental and emotional distress, a loss of

  consortium, have lost income and earning capacity, and suffered

  other damages, entitling each Plaintiff to a judgment against

  Defendants, jointly and severally, in amounts to be proven at

  trial.

  COUNT II – NEGLIGENCE/DANGER CREATED BY AFFIRMATIVE CONDUCT

              31.       Plaintiffs         reallege          and    incorporate         herein      by

  reference    all      of    the       previous          allegations     contained        in    this

  complaint as if fully set forth herein.

              32.       This Honorable Court has jurisdiction of this 42

  U.S.C. § 1983 Claim.

              33.       Plaintiffs bring this Section 1983 claim as they

  have each suffered (1) a violation of rights protected by the

  Constitution       or      created       by     state       or    federal       statute,        (2)

  proximately      caused         (3)    by     conduct       of    a    ‘person’       (Defendant


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  WATTS) (4) acting under color of state law.” Crumpton v. Gates,

  947 F.2d 1418, 1420 (9th Cir. 1991).

                34.    Defendants,        acting     under      color    of    state     law

  deprived plaintiffs of rights secured by the Constitution or

  federal statutes.         Gibson v. United States, 781 F.2d 1334, 1338

  (9th Cir. 1986); see also Pistor v. Garcia, 791 F. 3d 1104, 1114

  (9th Cir. 2015); Long v. Cty. of Los Angeles, 442 F.3d 1178,

  1185 (9th Cir. 2006); WMX Techs., Inc. v. Miller, 197 F.3d 367,

  372 (9th Cir. 1999) (en banc); Ortez v. Wash. Cty., Or., 88 F.3d

  804, 810 (9th Cir. 1996).

                35.    Under the due process clause of the Fourteenth

  Amendment,      an    officer      may    be      held      liable    to    protect    an

  individual where the state has placed that individual in danger

  through its affirmative conduct.                    Munger v. City of Glasgow

  Police   Department,        227    F.3d     1082     (9th    Cir.     2000);   Wood     v.

  Ostrander, 879 F.2d 583 (9th. Cir. 1989); L.W. v. Grubbs, 974

  F.2d 119, (9th. Cir 1992).

                36.    At   all    material        times   herein,      Defendant      WATTS

  created a dangerous condition by his actions and inactions as

  alleged herein which increased the risk of harm to Plaintiffs

  and acted with deliberate indifference to Plaintiffs to a known

  or obvious danger.              Freitas v. City & County of Honolulu, 574

  P.2d   529,    532 (1978);        Ruf    v. Honolulu        Police    Department, 972

  P.2d 1081, 1088 (Haw. 1999);              L.W. v. Grubbs, 92 F.3d 894, 896


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  (9th Cir. 1996); Wood v. Ostrander, 879 F.2d 583, 588 (9th Cir.

  1989).

              37.     Defendant       WATTS’      action    increased         the    risk      of

  harm to     Plaintiffs      and     he    was    negligent          in     not    providing

  protection against the enhanced danger."                       Freitas, 574 P.2d at

  532 (emphasis added); Ruf, 972 P.2d at 1088.                        Defendant WATTS in

  and was at all times under a                   "duty to avoid any affirmative

  acts    which   worsen      the    situation      of     the   plaintiff." Fochtman

  v. Honolulu       Police    &     Fire    Dep't, 649      P.2d       1114,       1116 (Haw.

  1982).

              38.     Defendant WATTS’ conduct alleged herein amounted

  to a deliberate indifference as to the safety of Plaintiffs in

  the presence of known danger, created by his official conduct,

  is     sufficient    to    establish       a    due    process       violation           under

  Section    1983     for    injury    caused      in    part    by    a     state       created

  danger. L.W.        v.    Grubbs, 974        F.2d      119,    122-123           (9th     Cir.

  1992) ; Wood         v.      Ostrander, 879            F.2d         583,         588      (9th

  Cir.1989),1 cert.          denied, 498         U.S.    938, 111          S.Ct.     341, 112

  L.Ed.2d 305 (1990).

              39.     At    all     times   material       herein,         Defendant       WATTS

  acted    with   malice,      in    reckless      disregard      of       the     law    or   of

  Plaintiffs’ legal rights.




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              40.    At all times material times herein, The Honolulu

  Police Department had a “MOTOR VEHICLE PURSUITS” policy in place

  and effect.

              41.    According     to   said     policy,   its   purpose    is     to

  “assist its officers in the safe performance of their duties and

  to protect the public, . . .”

              42.    According     to   Section     I.A.   of    said    policy,    a

  “Motor Vehicle Pursuit” is “An effort by an officer operating a

  motor vehicle to stop another motor vehicle when an occupant of

  that vehicle is a suspected violator of the law and the driver

  of that vehicle appears to be ignoring lawful commands to stop

  or to be fleeing from the police.”               Defendant SUMANG fled the

  scene of one or two motor vehicle collisions, ran stop signs,

  sped away from Defendant WATTS and failed to pull over despite

  Defendant WATTS following him down many streets for 2 minutes

  with his lights.

              43.    Defendant WATTS denies that he was in pursuit of

  Defendant   SUMANG    at   the    time    of   the    accident,   however,       HPD

  received a “few calls” about Defendant WATTS pursuing SUMANG

  down Pensacola. One caller reported, “Yeah it looks there’s uh a

  police   officer     chasing     a    white    ford    truck   going    down     uh

  Pensacola.”       Dispatcher, “Oh yeah you know what sir, yeah you

  know what we actually got a few calls for that, so we already




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  have officers on the way to that.”                        HPD Dispatch Audio, K1276

  911.

              44.     Defendant WATTS reported that when he first saw

  Defendant   SUMANG        he    was    15   car     lengths       away    and    then    when

  following him on Rycroft Street he was 12 car lengths away. Then

  he says that when he switched his police light to “Cruise Mode”

  on Rycroft Street he was still more than 10 car lengths away and

  that the distance increased.                   However, video footage reveals

  that Defendant WATTS was in pursuit of Defendant SUMANG and just

  3 to 5 car lengths behind him with his blue light on Kona Street

  (See Kona Street Video, Rear Parking Lot, 6:05:13 – 6:05:19)

  just   before     the    high    speed      chase        down    Ala    Moana   Boulevard.

  Defendant WATTS further reported that he was “approximately 1/3

  of a mile” behind Defendant SUMANG on Ala Moana Boulevard when

  he observed the truck pass a fire truck.                         However, video from a

  City Bus on Ala Moana Boulevard indisputably reveals that he was

  in a high speed pursuit less than 2 seconds behind Defendant

  SUMANG within a block (between the intersections of Ala Moana

  Boulevard   &     Queen       Street    and    Ala       Moana    Boulevard      &    Kamakee

  Street)    before       the    accident.           See    City    Bus    Video,      Disc   1,

  18:13:10    –   18:13:73).             Consistent        with    this    video       footage,

  Defendant WATTS admitted that when on Ala Moana Boulevard he was

  close enough behind Defendant SUMANG to see him make the “sharp




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  right turn” across traffic to Kamakee Street and saw the light

  pole fall. See Police Report, Pg. 101.

               45.    According       to    Section     II    of    said    policy,    some

  “GENERAL CONSIDERATIONS” to consider in initiating a pursuit are

  that:

               A. Motor Vehicle pursuits may be hazardous because of
                  the speeds and intricate maneuvers involved.
               B. Therefore, in each decision to engage in a motor
                  vehicle pursuit, the need to apprehend the suspect
                  must be weighed against the need to avoid harm to
                  persons and property. In general, the greater the
                  risk of harm to the officer, the suspect, or the
                  public in the pursuit, the less justification there
                  is for the pursuit.

               46.    According to Section III of said policy, under

  “INITIATION OF PURSUIT”, “The blue light and siren shall be used

  to command a vehicle to stop before a pursuit is initiated.”

  According to HPD Chief Ballard, Defendant WATTS’ pilot light was

  on   but    he    only    chirped    his     siren.         Consistent      with    Chief

  Ballard’s statement, witness statements and video from the City

  Bus and from the Hokua Tower on Ala Moana Boulevard confirm that

  he did not activate his siren or flashing lights during the

  pursuit.

               47.    According       to     Section    III    A.    of     said   policy,

  under “INITIATION OF PURSUIT”,               “A pursuit may be initiated with

  an authorized emergency vehicle if an officer directs a driver

  to   stop   but    that    driver        exhibits    intentions      of    eluding    the

  officer by being evasive.”                 Defendant WATTS pursued him down


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  many   streets     (Rycroft,     Pensacola,    Kapiolani,       Kamakee,    Kona,

  Piikoi and Ala Moana) at a high rate of speed and Defendant

  SUMANG was attempting to evade him.            For example, a witness who

  observed   the    pursuit   on    Pensacola   Street     near    McKinley     High

  School drove all the way to the accident scene to tell his story

  to HPD.      His witness statement is captured by Officer Jozlyn

  Harrington’s Bodycam and he said, “We saw ‘um running from the

  cop.” Officer Jozlyn Harrington replied surprised, “Huh?” The

  witness    continued,    “The     cop   was   chasing’    um    from   like     um

  Pensacola.       He turned right in front of us.            And he was like

  trying to book it from the cop . . . Right by McKinley.                    Uh . .

  . He made a left turn in front of us.            Then like I wasn’t sure.

  The cop didn’t have his lights on. But then it looked like he

  was swerving to the cars parked on the side and he took off.”

  See Harrington Bodycam: 11:32-12:53.

              48.    According to Section III B. of said policy, under

  “INITIATION OF PURSUIT”,           “When an officer initiates a motor

  vehicle pursuit, the officer shall continuously use the flashing

  blue light and siren.”           Defendant WATTS had his pilot light on

  but not flashing and only occasionally chirped his siren. HPD

  Chief Ballard      stated, “We know he had his pilot light on but as

  far as his flashing light, that is still under investigation.

  The siren was on at one point chirping on and off that is all

  part of the investigation but generally when you lose sight of a


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  suspect you turn off the lights and siren.”            Video footage and

  witness statements confirm that Defendant WATTS did not activate

  his continuous siren or flashing lights during the pursuit.                 A

  witness stated, “On January 28, 2019 around 6 pm I noticed a

  Ford Truck turn in front of me onto Pensacola drove into far

  right lane and made another right turn onto Kapiolani. There was

  a Police vehicle behind shortly after. Truck was driving very

  fast and erratically. Police vehicle had blue light on but not

  flashing. Possibly flashed light to turn onto Pensacola . . .

  Siren was not on also.”       See Pg. 744, Police Report.           Defendant

  WATTS should have activated his flashing lights and continuous

  siren during his pursuit of Defendant SUMANG instead of simply

  following him down several streets with merely his pilot light

  on, causing Defendant SUMANG to not pull over.          Defendant WATTS’

  negligent pursuit in this fashion only made Defendant SUMANG

  believe he could keep driving until he came upon an opportunity

  to evade the pursuit, which he attempted, by making the sudden

  turn at a high rate of speed resulting in him losing control of

  the Truck and colliding into the pedestrians.

             49.    According to Section IV. C. of said policy, under

  “SUPERVISORY     RESPONSIBILITIES”,      “When   continuing   the    pursuit

  becomes dangerous, it shall be the responsibility of any field

  supervisor to terminate it.”          SUMANG was speeding down Rycroft

  Street, Pensacola Street, Kona Street, Piikoi Street and on Ala


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  Moana Boulevard and the pursuit was not terminated and if it

  was, it was terminated too late as video footage from the City

  Bus and Hokua Tower reveal that Defendant WATTS was in a high

  speed pursuit of Defendant SUMANG and was just 2 seconds behind

  him within a block immediately before the accident.

              50.      At all relevant times herein, HPD Chief Ballard

  said, "The officer eventually observed the truck turn onto Ala

  Moana Boulevard at a high rate of speed and weave in and out of

  traffic.     The officer was unable to keep up with the truck in

  moving traffic."         Similarly, WATTS reported that while on Ala

  Moana Boulevard “Traffic conditions were heavy and I was stuck

  in traffic so activated my blue lights so that the vehicle in

  front of me would move out of the way.” (See Police Report, Pg.

  24).     However, the City Bus video makes it clear that Defendant

  WATTS was able to keep up with Defendant SUMANG as he was right

  behind    him   in    fast   pursuit   on    Ala   Moana   Boulevard   when   the

  accident occurred and there was no traffic ahead of them within

  the block before the accident and it was only immediately at the

  intersection of Ala Moana Boulevard and Kamakee Street was there

  some traffic. See City Bus Video, Disc 1, 18:13:10 – 18:13:73.

              51.      According to Section VI. A. of said policy, under

  “TERMINATION OF PURSUIT”, “A pursuit shall be terminated under

  any one of the following conditions:




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              1. When the risk created by the pursuit is unreasonable
                 given the nature of the offense for which the
                 suspect is being pursued and the conditions under
                 which the pursuit must be conducted.

                   A. An assessment of the risks created by the pursuit
                      should include: the speeds involved, the volume
                      of traffic on the road, the amount and kind of
                      pedestrian traffic in the area, . . . running a
                      red light or stop sign, time of day . . .”

              52.    The risk created by the high speed pursuit was

  unreasonable given that Defendant SUMANG had initially only been

  involved    in    minor    property     damage     collisions    involving     no

  injuries and he only began accelerating after Defendant WATTS

  began pursuing him down many streets for two minutes at high

  rates   of speed      without any siren or flashing lights                pushing

  Defendant    SUMANG    into   the     pedestrian   friendly     Kamakee    Street

  area.      The minor property damage collisions with no injuries on

  Amana Street did not justify the two minute high speed pursuit,

  in violation of the HPD Motor Vehicle Pursuits Policy.

              53.    Defendant WATTS initially reported on the day of

  the accident that “I activated my blue strobe lights and siren

  for a second when I made the turn to alert oncoming vehicle

  traffic    then   turned   off   my    strobe    lights   and   sirens.”      See

  Police Report, Pg. 24. However, three days later on February 1,

  2019, Defendant WATTS changed his story by amending his original

  statement in the Police Report claiming that “At the time of my

  initial statement, I was still in state of shock because I saw



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  the pedestrian fatalities and had difficulty recalling the event

  that occurred on January 28, 2019. After getting some rest and

  running the events that happen that night through my mind, I

  would like to submit this revised follow up report for the on-

  going   investigation.”         He    then    proceeded      to   report     that    “I

  activated my blue strobe lights and siren when I made the turn

  to alert oncoming vehicle traffic.                  While I was still 12 car

  lengths away, I saw the vehicle on Rycroft Street by the Walmart

  parking garage entrance, I ran the Hawaii license plate [                            ]

  with Dispatch. My police siren and blue strobe light were still

  activated at that time. After I ran the plates, the vehicle

  accelerated at high rate of speed Ewa bound on Rycroft Street

  with other vehicles on the roadway between the suspect vehicle

  and myself. I pressed the rocker switch to turn off my police

  siren and strobing blue lights which I thought was confirmed

  because   there   was     no   audible    sound     coming    from     my    vehicle.

  However, I am not certain whether my blue strobe lights were

  still   activated    or    not,      because    I    was    unable     to    see    any

  indication    that   they      were    flashing      from     inside    my    police

  vehicle. I assumed I had successfully switched my police light

  to ‘Cruise Mode’ I was still more than 10 car lengths away and

  the distance between my police vehicle and the suspect vehicle

  increased.”    See Police Report, Pg. 101-102. Thus, he chose to

  turn off his siren and flashing lights despite his continuing to


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  pursue    Defendant     SUMANG   at    high    rates   of    speed   through      the

  subject pedestrian friendly areas. Defendant WATTS negligently,

  maliciously and/or in conscious disregard of the law continued

  his pursuit not sure if his blue flashing lights were on or not;

  clearly, they were not.

              54.    While Defendant WATTS denies he was in a pursuit

  and instead claims that he was “attempting to locate” Defendant

  SUMANG    and   “trying    to    catch    up    to   um”,    the   latter    is    an

  admission that he was in a pursuit and video footage from the

  City Bus and the Hokua Tower fronting Ala Moana Boulevard make

  it indisputably clear that he was in a high speed pursuit of

  SUMANG within the block before the accident passing the City

  Bus.     Just seconds later, the bus then approaches the scene of

  the accident and the bus driver says ”Just happened, the guy was

  speeding, the cop was chasing ‘um!” See City Bus Video, Disc 1,

  18:14:19 – 18:14:25.

              55.    Consistent with Defendant WATTS being in a high

  speed pursuit at the time of the accident, in a Probable Cause

  Declaration,      HPD   Corporal      Misty    Clark   stated,     “Your    affiant

  received    a   video   recording      taken    from   a    City   and   County   of

  Honolulu Bus, . . . Your affiant reviewed the said recording

  from the Bus No. 955, Route 19, showed the suspect truck, Unit

  1, travel past the said bus at a high rate of speed on Ala Moana

  boulevard at about 6:13 p.m.             Following immediately behind the


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  suspect truck was a police vehicle with blue lights activated

  and a truck from the Honolulu Fire Department.                             It was later

  determined that the aforementioned police vehicle belonged to

  Defendant WATTS.”        See Police Report, Pg. 835.

              56.    Consistent       with        Defendant        WATTS     being      in     a

  pursuit     when   the    accident       occurred,          at    least    3     witnesses

  reported that Defendant WATTS was immediately on the scene after

  the accident.       Witness Rick Kariya stated, “Immediately after

  the accident, a Police SUV pulled up going W on Ala Moana. I

  identified/assumed        because    of         the    blue      light.”       See    Police

  Report, Pg. 76. Similarly, a witness testified that she was

  stopped   at   a   red    light     at     the        intersection        of    Ala   Moana

  Boulevard    and   Kamakee    Street       when       the   accident       occurred        and

  before her sister could call 911 “Within 5 seconds of all this

  happening” a police car was on the scene with a blue light which

  was Defendant WATTS who was the first officer immediately upon

  the scene because he was pursuing Defendant SUMANG.                            See Police

  Report, Pg. 316.         Similarly, another witness was about to call

  911 by “instinct” immediately after the accident occurred but

  she said, “. . . yeah. I, I tried, I when the lamppost you know

  was going on, I mean, I’m literally scrambling in my purse to

  trying to get my phone out like, we gotta call 9-1-1. We gotta

  call 9-1-1. And that was my instinct and my brother’s like,

  police are already on the scene. And I just I heard it, but I


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  didn’t stop. I’m like, “no we gotta call 9-1-1. And so I got my

  phone out and called 9-1-1 and then, then I saw the blue light.

  And I have seen this like this yellow um, I think a fire or

  water rescue. . .”             See Police Report, Pg. 339.                 These witness

  accounts are consistent that Defendant WATTS was instantly on

  the scene because he was chasing SUMANG within a block of the

  accident.

                  57.   At    all    times    material       herein,     Defendant        WATTS

  owed   a   duty       to   avoid    any    affirmative       acts    which   worsen       the

  situation       of    Plaintiffs.         Fochtman       v. Honolulu      Police    &    Fire

  Department, 649 P.2d 1114, 1116 (Haw. 1982).

                  58.   At    all    times    material       herein,     Defendant        WATTS

  owed a duty of care under HRS §291C-26 to drive with due regard

  for the safety of all persons and without reckless disregard for

  safety     of    others.           In    particular,       §291C-26(b)(3)        permitted

  Defendant WATTS to exceed the maximum speed limit so long as he

  did not endanger life or property.                         Subsection (d) provides:

  “The foregoing provisions shall not relieve the driver of an

  authorized emergency vehicle from the duty to drive with due

  regard for the safety of all persons, nor shall those provisions

  protect     the       driver      from    the        consequences    of    the     driver's

  reckless disregard for the safety of others.”




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              59.     At    all    times   material   herein,    Defendant        WATTS

  owed a duty to act as a reasonably prudent emergency vehicle

  driver would have done under the circumstances presented.

              60.     At    all    times   material   herein,    Defendant        WATTS

  owed a duty to comply with HPD’s Motor Vehicle Pursuits policy.

              61.     At all      times material herein, Defendant WATTS,

  owed a duty to Plaintiffs and other pedestrians and vehicles to

  either properly pull over Defendant SUMANG pursuant to the HPD

  Motor Vehicle Pursuits Policy and/or to timely terminate the

  pursuit    given    the    attending     circumstances      such     as   the   heavy

  pedestrian traffic in the area at the time and because Defendant

  SUMANG was speeding erratically down many streets including Ala

  Moana Boulevard despite being pursued by Defendant WATTS, also

  pursuant to the policy.

              62.     Defendant        WATTS       breached      each        of     the

  aforementioned duties when he failed                to comply with the HPD

  Motor     Vehicle    Pursuits       Policy     by   improperly,         negligently,

  recklessly,        carelessly,       maliciously      and/or       in     conscious

  disregard    of     the   law,    pursued      Defendant    SUMANG      without   his

  flashing lights and continuous siren and instead chose to pursue

  him down many streets with his pilot light on but not flashing,

  pushing him into the heavily congested Kakaako area causing him

  to attempt to evade by making the sudden right turn onto Kamakee

  Street and lose control of the Truck.


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                 63.       Defendant        WATTS       further         breached         these       duties

  when     he        improperly,           negligently,              recklessly,              carelessly,

  maliciously and/or in conscious disregard of the law failed to

  timely    terminate          his    pursuit           as    required         by    the       HPD   Motor

  Vehicle Pursuits Policy.                  He had an opportunity to terminate the

  pursuit       before      the     pursuit        reached         Ala     Moana      Boulevard        and

  certainly when he claims he was stuck in traffic on Ala Moana

  Boulevard, but instead negligently chose to continue to pursue

  Defendant          SUMANG    at     a     high    rate        of      speed       down      Ala    Moana

  Boulevard within a block of the accident.

                 64.       Defendant          WATTS’            intentional,                  consciously

  indifferent         and     affirmative          conduct         of    pursuing          and      pushing

  Defendant SUMANG from Keeaumoku and Rycroft Streets all the way

  to Kamakee Street where the subject accident occurred without

  flashing lights or continuous siren at a high rate of speed, at

  the    subject       time    of     day    when       the    intersection              of    Ala   Moana

  Boulevard          and    Kamakee       Street        was     heavily         congested,           placed

  Plaintiffs in danger through his consciously indifferent conduct

  which    increased          their       risk     of    harm      as    none       of     the      injured

  persons       or    witnesses        were      alerted        to       the    fast          approaching

  pursuit       because       Defendant          WATTS       did     not    use      any       siren     or

  flashing lights at the time, and thereby he failed to protect

  them.     Instead, the impact took everyone by surprise.




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              65.   At all material times herein, Defendant WATTS’s

  acts and omissions were “so egregious or outrageous that no

  state post-deprivation remedy can adequately serve to preserve a

  person's     constitutional       guarantees          of   freedom        from    such

  conduct."

              66.   At   all    material        times   herein,    Defendant       WATTS

  acted with malice or in conscious disregard of the law or of

  Plaintiffs’ legal rights and with ill will.

              67.   Defendant WATT’S aforementioned conduct violated

  clearly established statutory or constitutional rights of which

  a   reasonable     person      would    have      known.      His    conduct      left

  Plaintiffs in a situation that was more dangerous than before

  the pursuit approached the subject intersection.

              68.   At all material times herein, it was improper for

  Defendant WATTS to pursue Defendant SUMANG without continuous

  siren and flashing lights.

              69.   At    all   material        times    herein,      any   reasonable

  officer in Defendant WATTS’ shoes would have understood that

  pursuing    Defendant    SUMANG    at     a    high    rate   of     speed   without

  flashing lights and continuous siren in the heavily congested

  area   at   the   particular    time    of     day    would   have    violated     the

  rights of pedestrians such as Plaintiffs by putting them at risk

  of bodily injury and/or death.




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              70.    After    the   accident    and    at   the     scene     of   the

  accident, as documented by Defendant WATTS’ videocam footage, a

  Sergeant coached him on what to report so that he does not get

  in trouble.       He tells him to make sure he says he was not in a

  pursuit.      He said, “I know you know already. But just be very

  detailed, [unintelligible] we don’t want anything coming back

  thinking that, at no time was this some kind of pursuit, where

  you drove the guy into . . . I mean granted he’s probably 210

  but you know what I mean just to cover yourself very well.”

  Defendant   WATTS    replied,     “Thank     you.”    Then      later   Defendant

  WATTS says “I was back there, I was . . .”                  His sergeant then

  says “At no time was there any pursuit or whatever when you turn

  lights     [unintelligible] . . . my lights were not on, strobe

  lights were not on.          You know how they’re going to look for

  that.”      Defendant WATTS, “yeah that’s why I said they’re going

  . . . that’s why I said they’re going to try and get me on this

  one because if there’s video and stuff.”                  See Watts Videocam:

  12:53-14:36.        Similarly, wary of the possibility of videos of

  the   pursuit,    another    officer   named    “Jay”     talks    to     Defendant

  WATTS by the back of a vehicle and then says, “From where you

  were, I just like make sure there were no cameras . . . nothing,

  nothing that will . . .”             He tells Defendant WATTS that he

  should walk and check the area for cameras.                     Defendant WATTS

  says, “I’ll do it later when no one’s in the area . . . . I’ll


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  just walk on down.”         Then the Officer named Jay responds, “Well

  no cause see actually I was gonna say you gotta go all the way,

  . . . because he turned on Piikoi ah?”             .”   See Watts Videocam:

  02:43-03:28.

             71.    After     the   accident   and   at   the    scene   of    the

  accident, as documented by Defendant WATTS’ videocam footage,

  Officer Jozlyn Harrington says to Defendant WATTS, “Ok so he’s

  the one (referring to a witness) that saw the truck like turning

  and then he said he saw you going . . . but I’m going to make

  sure you were far way and this will be the . . . “ as she taps

  on her report pad.         Then Defendant WATTS blurts out “Yeah but I

  know they’re going to . . . This is fucked up.”                    See Watts

  Videocam: 00:21-0036.         Then a witness who observed the pursuit

  near McKinley High School walks up to Officer Harrington and

  says, “We saw ‘um running from the cop.” . . . “The cop was

  chasing’ um from like um Pensacola.          He turned right in front of

  us.   And he was like trying to book it from the cop . . . Right

  by McKinley.      Uh . . . He made a left turn in front of us.              Then

  like I wasn’t sure. The cop didn’t have his lights on. But then

  it looked like he was swerving to the cars parked on the side

  and   he   took    off.”      See   Harrington     Videocam:    11:32-12:53.

  However, this critical statement is omitted from the 853 page

  Police Report.      This witness drove all the way to the accident

  scene to tell the police that Defendant SUMANG was evading a


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  high    speed    chase     but    this     critical         statement      is     curiously

  missing from the 853 page Police Report.

                 72.   Similarly, after the accident and at the scene of

  the accident, as documented by Defendant WATTS’ videocam footage

  Officer Jonathan Baba walks up to Defendant WATTS and asks him,

  “Are you good?” and Defendant WATTS replies, “This is fucked up

  man . . . I know they are going to try to hang this shit on me.”

  He then asks Officer Baba, “What’s your witness’ statements say

  . . . the one from the condo?                  Officer Baba replied referring to

  a statement from Daniel Strasser who witnessed the pursuit from

  a condo on Ala Moana Boulevard, “followed closely by an HPD

  SUV.”     Then Defendant WATTS says, “Yeah see I wasn’t.”                                 The

  Officer asks, “Was your lights on?” Defendant WATTS replied,

  “Yeah my lights were on because I was trying to catch up to um.”

  See    Watts    Videocam:        11:28-12:12.             While       Strasser    made    the

  detrimental statement to Officer Baba, this statement is also

  omitted   from       the   Police     Report        where      said    officer    discusses

  Strasser’s      statement.         See    Pg.       62,   Police      Report.      He    only

  reported that Strasser witnessed the truck “at a high rate of

  speed” on Ala Moana Boulevard.                      Likewise, the entire reference

  to Defendant WATTS pursuing Defendant SUMANG is omitted from

  Strasser’s       statement       on      Pg.        788   of     the     Police    Report.

  Similarly, the Closing Report makes no mention of the pursuit.




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  See Pg. 845, Police Report.              Strasser’s handwritten statement is

  included but behind another witness statement.

              73.     These      acts     and         omissions      constitute         police

  misconduct     and       corruption      and        were   intended        to    improperly

  protect Defendant WATTS and the Police Department by omitting

  damaging evidence that supports a finding that Defendant WATTS

  was in an improper pursuit of Defendant SUMANG without flashing

  lights   and      continuous        siren   and       that    he    failed       to   timely

  terminate the pursuit pushing Defendant SUMANG into the heavily

  congested    and     pedestrian       friendly        Kakaako      area,    directly     and

  proximately causing the accident.                    As a further result of these

  acts and omissions of police officers in this case as alleged

  herein and as documented in the Police Report and video tapes,

  evidence has been suppressed, altered, tainted and/or omitted

  from the Police Report No. 19-037743-001 and in the 850 page

  police report, other than Corporal Clark’s statement that she

  reviewed    the    City       Bus   video      of    the     accident      in    which   she

  observed Defendant WATTS following immediately behind Defendant

  SUMANG at a high rate of speed on Ala Moana Boulevard, there is

  no other single statement that Defendant WATTS was in a pursuit

  of Defendant SUMANG.

              74.     As    a   direct    and      proximate      result      of    Defendant

  WATTS    negligently          pursuing      Defendant          SUMANG       without      his

  continuous siren and flashing lights, and in other ways to be


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  discovered,          Defendant      SUMANG     was     pushed       into     the     heavily

  congested Kakaako area and none of the victims of the accident

  heard the fast approaching pursuit and therefore were not able

  to get out of the way or otherwise take evasive action and were

  either killed or severely injured as a result of the violent

  collision.

              75.       As     a    direct      and     proximate       result        of     the

  negligence of Defendants as alleged herein, and in ways to be

  discovered in this case, POKORNY and REINO IKEDA suffered pre-

  impact terror, were violently struck by the Truck causing them

  to suffer catastrophic and gruesome injuries, from which they

  died from, entitling Plaintiff GARIN, as Administrator of the

  Estate     of     Casimir        Pokorny,    deceased,        and    NAOTO        IDEDA,     as

  Personal Representative of the Estate of REINO IKEDA, deceased,

  to   a   judgment      against      Defendants,       jointly       and    severally,        in

  amounts to be proven at trial.

              76.       As a direct and proximate result of the acts and

  omissions       of    Defendants       alleged       herein    and    in     ways     to     be

  discovered in this case, resulting in POKORNY and REINO IKEDA’s

  untimely    death,         Plaintiff    GARIN,       individually,         lost    her     only

  child and Plaintiff IKEDA, individually lost his wife,                                   in a

  horrific        manner;     and     have     each    suffered       extreme        emotional

  distress, depression, anguish, grief, sorrow; a loss of love,

  affection,           society,       companionship,            comfort,        consortium,


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  protection, care, attention, advice, counsel, filial care and

  attention,      relationship       with    their     loved    ones,   have    incurred

  burial    and    funeral     expenses,       entitling       Plaintiffs    GARIN     and

  IKEDA,    both       individually,    to     a    judgment     against    Defendants,

  jointly and severally, in amounts to be proven at trial.

                 77.    As a direct and proximate result of the acts and

  omissions of Defendants as alleged herein and in ways to be

  discovered in this case, Plaintiffs suffered damages as alleged

  herein including but not limited to death, severe, permanent and

  disfiguring          injuries,     have     incurred      medical,       psychiatric,

  psychological and rehabilitative expenses, have suffered mental

  and emotional distress, a loss of consortium, have lost income

  and earning capacity, and suffered other damages, entitling each

  Plaintiff       to     a   judgment       against     Defendants,        jointly     and

  severally, in amounts to be proven at trial.

  COUNT III – NEGLIGENT TRAINING RE CUSTOM/PRACTICE/POLICY

                 78.    Plaintiffs     reallege       and   incorporate      herein      by

  reference      all    of   the   previous        allegations    contained     in    this

  complaint as if fully set forth herein.

                 79.    Despite HPD’s Motor Vehicle Pursuits policy which

  mandated the use of continuous siren and flashing lights during

  a motor vehicle pursuit, it was customary for HPD to permit its

  officers to chirp their sirens instead of employing a continuous

  siren    and    flashing     lights       when    pursuing     suspects.     Defendant


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  WATTS initially activated his siren and flashing lights to alert

  traffic only at the beginning of the pursuit but then turned off

  the same and only occasionally chirped his siren as he pursued

  Defendant SUMANG, and also failed to notify dispatch that he was

  initiating a pursuit, thereby failing to protect Plaintiffs when

  he deactivated his flashing lights and a continuous siren that

  would have warned them of the fast approaching and dangerous

  pursuit.       As    a    result,        Defendant     WATTS’         deprivation       of

  Plaintiffs’ rights was pursuant to and a consequence of HPD’s

  said custom, practice, or policy.                  Consequently, Defendant CITY

  is   liable    for   Defendant       WATTS’       actions/inactions         under      the

  theory of respondeat superior.                McMillian v. Monroe County, 520

  U.S.    781,   783   (1997)       ("If    the     sheriff's      actions    constitute

  county 'policy,' then the county is liable for them."); Monell

  v. Department of Social Services of the City of New York, 436

  U.S.    658.   690-691     (1978).       (Local    governing      bodies    and     local

  officials sued in their official capacities can be sued directly

  under § 1983 for monetary, declaratory, and injunctive relief in

  those    situations       where    the     action     that       is   alleged     to    be

  unconstitutional         implements      or     executes     a    policy    statement,

  ordinance,      regulation,        or     decision     officially          adopted      or

  promulgated by those whose edicts or acts may fairly be said to

  represent official policy. In addition, local governments, like

  every other § 1983 "person," may be sued for constitutional


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  deprivations        visited     pursuant      to     governmental         "custom"       even

  though such custom has not received formal approval through the

  government's official decision making channels).

                80.    Regarding Officer WATTS’ actions in this case,

  HPD Chief Susan Ballard stated to KITV4, "We know he had his

  pilot light on but as far as his flashing light -- that is still

  under investigation. The siren was on, at one point chirping it

  on and off, that is all part of the investigation, but generally

  when you lose sight of a suspect vehicle you turn off your

  lights and siren."

                81.    HPD failed to properly and adequately train its

  officers   including        Defendant        WATTS       as   to   its    Motor      Vehicle

  Pursuits Policy and permitted its officers to chirp sirens when

  following suspects, which failure to properly train amounts to a

  deliberate indifference to the rights of persons that officers

  come   into     contact     with    who      were    obviously       to       be    protected

  against    bodily      injury      or   death       by    fast     approaching        police

  pursuits   by       being   alerted     by    flashing        lights      and      continuous

  siren. City of Canton v. Harris, 489 U.S. 378,388 (1989).

                82.    HPD    further     failed      to    properly       and       adequately

  train its officers including Defendant WATTS as to its Motor

  Vehicle Pursuits Policy and permitted its officers to follow

  fleeing suspects without first notifying dispatch that they were

  initiating      a    pursuit,    which       failure      amounts        to   a    conscious


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  indifference to the rights of persons that officers come into

  contact who were obviously to be protected against bodily injury

  or death by fast approaching police pursuits by being alerted by

  flashing lights and continuous siren.

              83.    The unconstitutional consequences of failing to

  properly    train       as    aforesaid      was   so    patently      obvious       that

  Defendant City is liable under § 1983 without proof of a pre-

  existing pattern of violations.                  Connick v. Thompson, 563 U.S.

  51, 61, 63        (2011) (quoting Bryan Cty. v. Brown, 520 U.S. 397,

  409 (1997).

              84.    At all material times herein, HPD knew or should

  have known that is officers pursued suspects without activating

  a continuous siren and flashing lights and failed to properly

  and adequately train them to do so.

              85.    At all material times herein, HPD ratified the

  conduct    of   its     officers    pursuing       suspects    by     chirping   their

  sirens     without      activating      a    continuous       siren    and    flashing

  lights.

              86.    At    all    material      times     herein,     there    existed    a

  pattern    over    years       of   similar      constitutional       violations       by

  officers    pursuing         suspects   activating       a   continuous      siren    and

  flashing lights.

              87.    In 2007, witnesses said an officer was in pursuit

  of a SUV on Kalanianaole Highway in Waimanalo which ultimately


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  crashed killing two women. HPD admitted that the officer chirped

  his siren as he was turning but claimed that he was not in a

  pursuit    of    the       SUV,   however      a     short   distance       away    the   SUV

  “slammed” into a car.

              88.       In 2014, Officer Jeremy Newman stated that he was

  going    after    a    jaywalker,         a    homeless      man    and    activated      his

  emergency lights and was “chirping” his siren when he collided

  into a motorcyclist.

              89.       In    Pogoso v. Sarae,            No. CAAP–12–0000402 (2016)

  Officer Sarae, who was pursuing a vehicle, testified that she

  had her siren in “chirping mode” just prior to colliding with

  Pogoso’s vehicle.

              90.       In    2015,    an    officer      pursued     a     suspect   without

  utilizing his blue lights and siren and without declaring a

  motor vehicle pursuit.              See 15-004, HPD Legislative Disciplinary

  Report, 2015.

              91.       In     2015,        an    officer       was       speeding     to     a

  nonemergency call and failed to activate his blue lights and

  siren.     See 15-006, HPD Legislative Disciplinary Report, 2015.

              92.       In 2015, an officer continued a pursuit that was

  terminated       by    a    supervisor         and    did    not    declare    or    notify

  dispatch     about         his    continued          pursuit.        See     15-007,      HPD

  Legislative Disciplinary Report, 2015.




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              93.     In 2017, an officer did not immediately declare a

  motor    vehicle    pursuit;          failed         to    notify    and       update    police

  dispatch    and    did    not     continuously             utilize    his      flashing    blue

  lights     and    siren     during         the       pursuit.          See      16-053,      HPD

  Legislative Disciplinary Report, 2017.

              94.     In    2018,      an    officer         failed    to    notify       dispatch

  regarding his attempt to conduct a traffic stop.                                 See 17-028,

  HPD Legislative Disciplinary Report, 2018.

              95.     On January 1, 2009, HPD denied that its officers

  were in a pursuit of motorcyclist, Wayne Medeiros, Jr., but

  witnesses Doreen Kahinu and Charlotte Pagaduan each separately

  witnessed the officers in fast pursuit of the motorcyclist when

  he crashed his motorcycle in Waimanalo and died.                                The officers

  in pursuit did not notify dispatch of their pursuit.

              96.      Because         HPD    permitted         its     officers      to    chirp

  their sirens as alleged herein, this disparity caused Officer

  WATTS    some     confusion       and      to    believe       that       he    could    pursue

  Defendant SUMANG by simply chirping his siren as he actually

  initially    activated         his    flashing            lights    and    siren    to    alert

  oncoming    traffic      but    then       intentionally           deactivated      the     same

  even though he was not sure if he had then actually deactivated

  his continuous flashing lights.                  He reported:

        “I activated my blue strobe lights and siren when I
        made the turn to alert oncoming vehicle traffic.
        While I was still 12 car lengths away, I saw the


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         vehicle on Rycroft Street by the Walmart parking
         garage entrance, I ran the Hawaii license plate [    ]
         with Dispatch. My police siren and blue strobe light
         were still activated at that time. After I ran the
         plates, the vehicle accelerated at high rate of speed
         Ewa bound on Rycroft Street with other vehicles on the
         roadway between the suspect vehicle and myself. I
         pressed the rocker switch to turn off my police siren
         and strobing blue lights which I thought was confirmed
         because there was no audible sound coming from my
         vehicle. However, I am not certain whether my blue
         strobe lights were still activated or not, because I
         was unable to see any indication that they were
         flashing from inside my police vehicle. I assumed I
         had successfully switched my police light to ‘Cruise
         Mode’ I was still more than 10 car lengths away and
         the distance between my police vehicle and the suspect
         vehicle increased.” See Police Report, Pg. 101-102.

                 97.    HPD trains its officers including Officer WATTS

  that a pursuit is actually initiated when the officer notifies a

  dispatcher of his/her pursuit and therefore this flawed policy

  does not prevent an officer, as here, from following a suspect

  at a high rate of speed, without the use of flashing lights and

  continuous siren, prior to that notification.

                 98.    At all material times herein, HPD knew or should

  have     known       that   its     officers        chirped   their    sirens    during

  pursuits    and       did   not     always    notify      dispatch    when   initiating

  pursuits, but despite this knowledge, it intentionally and/or

  negligently failed to enforce its Motor Vehicle Pursuits Policy,

  failed to properly train its officers, including Defendant WATTS

  in this regard and permitted its officers, including Defendant

  WATTS,    to     chirp      their    sirens        when   following   or     pursuing   a



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  suspect and to notify dispatch after he/she had already began

  pursuing a suspect.

              99.     As a direct and proximate result of said acts and

  omissions    and    customs    and    policies    of   Defendants         as    alleged

  herein and in ways to be discovered in this case, Plaintiffs

  suffered damages as alleged herein including but not limited to

  death, severe, permanent and disfiguring injuries, have incurred

  medical, psychiatric, psychological and rehabilitative expenses,

  have     suffered    mental     and    emotional       distress,      a        loss     of

  consortium, have lost income and earning capacity, and suffered

  other damages, entitling each Plaintiff to a judgment against

  Defendants, jointly and severally, in amounts to be proven at

  trial.

  COUNT IV      –     NEGLIGENT/INTENTIONAL          INFLICTION      OF      EMOTIONAL
  DISTRESS

              100. Plaintiffs       reallege       and   incorporate        herein        by

  reference    all    of   the   previous      allegations     contained         in     this

  complaint as if fully set forth herein.

              101. Defendants’         actions     described    above       and       below

  were willful, reckless, malicious, outrageous, deliberate, and

  purposeful.        These acts were committed with the intention of

  inflicting severe emotional distress upon Plaintiffs and/or were

  done in reckless and/or negligent disregard of the probability

  of causing Plaintiffs severe emotional distress.



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              102. As a direct and proximate result of said acts,

  Plaintiffs were caused to suffer and continue to suffer serious,

  severe   and     grievous     mental    and     emotional    distress,    horror,

  strain, anguish, grief, sorrow, stress and anxiety, entitling

  each Plaintiff to a judgment against Defendants, jointly and

  severally, in amounts to be proven at trial.

  COUNT V – PUNITIVE DAMAGES

              103. Plaintiffs       reallege       and   incorporate    herein       by

  reference   all    of   the   previous        allegations    contained    in    this

  first amended complaint as if fully set forth herein.

              104. Defendant SUMANG’s actions as alleged herein and

  in ways to be discovered, were willful, reckless, malicious,

  outrageous,      deliberate,     and    in     conscious     disregard    of     the

  consequences.

              105. As     a   direct     and    proximate     result   of   each     of

  Defendant SUMANG’s willful, reckless, malicious, and deliberate

  conduct in conscious disregard of the consequences, Plaintiffs

  are entitled to a substantial award of punitive damages against

  Defendant SUMANG to punish him and/or to deter this type of

  reckless and malicious conduct.

              WHEREFORE, Plaintiffs pray for Judgment in their favor

  and against Defendants, jointly and severally, as follows:

              1.    Special damages as shall be proven at trial;

              2.    General damages as shall be proven at trial;


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             3.   Punitive   damages    as   shall   be   proven   at   trial

  against Defendant SUMANG;

             4.   Attorney's fees and costs;

             5.   Prejudgment and post-judgment interest; and

             6.    Such other and further relief as the Court deems

  just under the circumstances.

             Dated: Honolulu, Hawaii, January 20, 2021.


                                            /s/Robert D. Kawamura_____
                                            ROBERT D. KAWAMURA

                                            Attorneys for Plaintiffs
                                            GAIL GARIN, Individually and
                                            as Administrator of the
                                            Estate of CASIMIR POKORNY,
                                            Deceased, NAOTO IKEDA,
                                            Individually and as Personal
                                            Representative of the Estate
                                            of REINO IKEDA, Deceased;
                                            LIANNA MCCURDY and DANIEL
                                            VERDERAME




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  Administrator of the Estate of CASIMIR POKORNY, Deceased,
  NAOTO IKEDA, Individually and as Personal Representative
  of the Estate of REINO IKEDA, Deceased; LIANNA MCCURDY
  and DANIEL VERDERAME

                IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                              STATE OF HAWAI’I

  GAIL GARIN, Individually and as ) Civil No. 1CCV-XX-XXXXXXX
  Administrator of the Estate of  ) (Motor Vehicle Tort)
  CASIMIR POKORNY, Deceased;      )
  LIANNA MCCURDY; and DANIEL      ) DEMAND FOR JURY TRIAL
  VERDERAME,                      )
                                  )
                 Plaintiffs,      )
                                  )
       vs.                        )
                                  )
  ALINS SUMANG; SHELDON WATTS;    )
  CITY AND COUNTY OF HONOLULU;    )
  JOHN DOES 1-10; JANE DOES 1-10; )
  DOE CORPORATIONS 1-10; DOE      )
  PARTNERSHIPS 1-10; DOE JOINT    )
  VENTURERS 1-10; DOE LIMITED     )
  LIABILITY ENTITIES 1-10; DOE    )
  NON-PROFIT ENTITIES 1-10; DOE   )
  GOVERNMENTAL ENTITIES 1-10; DOE )
  UNINCORPORATED ENTITIES 1-10;   )
  and OTHER DOE ENTITIES 1-10,    )
                                  )
                 Defendants.      )
  _______________________________ )


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                                DEMAND FOR JURY TRIAL

             Pursuant      to    HRCP   Rule    38,    Plaintiffs     GAIL    GARIN,

  Individually      and   as    Administrator    of    the   Estate    of    CASIMIR

  POKORNY, Deceased; LIANNA MCCURDY and DANIEL VERDERAME, by and

  through   their    attorneys,      Kawamura    Law    Office,     LLLC.,    hereby

  demand a jury trial on all issues so triable.

             Dated: Honolulu, Hawaii, January 20, 2021.


                                               /s/Robert D. Kawamura_____
                                               ROBERT D. KAWAMURA

                                               Attorneys for Plaintiffs
                                               GAIL GARIN, Individually and
                                               as Administrator of the
                                               Estate of CASIMIR POKORNY,
                                               Deceased, NAOTO IKEDA,
                                               Individually and as Personal
                                               Representative of the Estate
                                               of REINO IKEDA, Deceased;
                                               LIANNA MCCURDY and DANIEL
                                               VERDERAME




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             IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                              STATE OF HAWAI’I


  GAIL GARIN, Individually and as ) Civil No. 1CCV-XX-XXXXXXX
  Administrator of the Estate of  ) (Motor Vehicle Tort)
  CASIMIR POKORNY, Deceased;      )
  LIANNA MCCURDY; and DANIEL      ) SUMMONS
  VERDERAME,                      )
                                  )
                 Plaintiffs,      )
                                  )
       vs.                        )
                                  )
  ALINS SUMANG; SHELDON WATTS;    )
  CITY AND COUNTY OF HONOLULU;    )
  JOHN DOES 1-10; JANE DOES 1-10; )
  DOE CORPORATIONS 1-10; DOE      )
  PARTNERSHIPS 1-10; DOE JOINT    )
  VENTURERS 1-10; DOE LIMITED     )
  LIABILITY ENTITIES 1-10; DOE    )
  NON-PROFIT ENTITIES 1-10; DOE   )
  GOVERNMENTAL ENTITIES 1-10; DOE )
  UNINCORPORATED ENTITIES 1-10;   )
  and OTHER DOE ENTITIES 1-10,    )
                                  )
                 Defendants.      )
  _______________________________ )


                                   SUMMONS

  STATE OF HAWAII

  To the above-named Defendants:

             You are hereby summoned and required to file with the

  above-entitled Court and serve upon Plaintiffs' attorneys, whose

  address is Kawamura Law Office, LLLC., 350 Ward Avenue, Suite

  106, Honolulu, Hawaii 96814, an answer to the              First Amended

  Complaint, which is herewith served upon you, within twenty (20)



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  days after service of this Summons upon you, exclusive of the

  day of service.        If you fail to do so, judgment by default will

  be   taken   against    you    for   the    relief   demanded    in   the   First

  Amended Complaint.

               This summons shall not be personally delivered between

  10:00 p.m. and 6:00 a.m. on premises not open to the general

  public, unless a judge of the above-entitled court permits, in

  writing on this summons, personal delivery during those hours.

               A failure to obey this summons may result in an entry

  of default and default judgment against the disobeying person or

  party.

               In   accordance    with   the    Americans   with    Disabilities

  Act, and other applicable state and federal laws, if you require

  a reasonable accommodation for a disability, please contact the

  ADA Coordinator at the First Circuit Court Administration Office

  at PHONE NO. 539-4333, FAX 539-4322, or TTY 539-4853, at least

  ten (10) working days prior to your hearing or appointment date.

               Dated: Honolulu, Hawaii, ____________________________.



                                         _________________________________
                                         Clerk of the above-entitled Court




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